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12
                                    UNITED STATES DISTRICT COURT
13                         CENTRAL DISTRICT OF CALIFORNIA, WESTERN D IVISION

14
        JENNY LISETTE FLORES, et al.,                     )   Case No. CV 85-4544 DMG (AGRx) 
15                                                        )
                 Plaintiffs,                              )
16      - vs -                                            )   EXHIBITS IN SUPPORT OF
17                                                        )   PLAINTIFFS’ RESPONSE TO
        JEFFERSON B. SESSIONS, ATTORNEY GENERAL           )
18      OF THE UNITED STATES, et al.,                     )
                                                              DEFENDANTS’ FIRST JUVENILE
                                                          )   COORDINATOR REPORTS
19               Defendants.                              )   VOLUME 3 OF 12 [REDACTED
20
                                                          )   VERSION OF DOCUMENT
                                                              PROPOSED TO BE FILED UNDER
21                                                            SEAL]
22
                                                              [HON. DOLLY M. GEE]
23
                                                              Hearing: July 27, 2018
24                                                            Time: 10 AM

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1       Plaintiffs’ counsel, continued

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                                                 Declaration o
                                  Fatima O

       I, Fatima O                                 , declare under penalty of perjury that the following is true
and correct to the best of my knowledge and recollection.

   1. My date of birth is 26 Feb 1991. My daughter's name is                                          She is 8
      years old and was born on 2 April 2006. My daughter and I are from Honduras.

   2. I left Honduras because my ex-husband was stalking me.

   3. We presented ourselves at the border about May 15, 2018. I believe that it was on or about 12:00 PM.
      We were taken to the "dog cage" for five days. In the "dog cage," people were to sleep on mats that
      were two inches thick on the floor. Several babies were crying. There was no access to showers. The
      food was one burrito for breakfast, one burrito for lunch, and bread with a spread for dinner. On the
      second or third day there, my daughter soiled herself from peeing and pooping and wanted to wash her
      private parts. She was used to cleaning her private parts every day. I asked ifl could clean her because
      her underwear were soiled. The guards said, "No." They said that they only have 10 showers. She
      remained in her dirty underwear until we arrived at Dilley several days later. We were not able to sleep
      at the "dog cage."

  4. The food was one burrito for breakfast, one burrito for lunch, and bread with a spread for dinner. At the
     "cold place" there was only bread there for eating.

  5. In both places it was very, very cold. It was extremely cold in the "cold place."

  6. Lights were on all the time and were never turned off, even in the night. It made it very hard to sleep.

  7. After 5 days, my daughter and I were taken to another place where we were held for 1 day.

  8. In the "cold place" there was only white bread with spread to eat. There was again no access to showers.
     People had to sleep on the floor without anything underneath. For blankets we had aluminum blankets. It
     was very cold.


  9. I did not have legal notice until arriving to facility in Dilley. On the first day arriving to Dilley my
     daughter had a very bad fever and I took her to get medical help. They said that I would have to come
     back the next day or day after and that I should just put a rag on her head and that they could not help
     me that day. The next day I was able to get her to the medical professionals.

  10. My daughter and I were taken out of that facility on or around May 20, 2018.

  11. My daughter and I have been at the Dilley location for about 38 days. We are planning to wait to see
      what happens with the attorney to see ifwe have to be deported back or not. We do not know what will
      happen. My daughter has had to talk a lot in the court but she does not like to and asks "Mom can I
      please stop?''
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    12. I am unaware of current status and keeps waiting to hear back about case status.

I, Fatima O         swear under penalty of perjury that the above declaration is true and complete to the best of
my abilities. This declaration was provided in Spanish, a language in which I am fluent, and was read back to
me in Spanish.



                                                              .2. B- o(p_ l   B
                                                            Date




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                                   Certificate of Translation


           ·eff certify that I am fluent in English and Spanish and that I read the above declaration to Fatima
           Spa h




Willamette University Clinical Law Program
245 Winter Street SE
Salem, OR 97302



Date




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                                    Declaration of
                            Doris M


        I, Doris M                              declare under penalty of perjury that the following is true and
correct to the best of my knowledge and recollection.

   1. My date of birth is June 5th, 1976. My son's name is                         He is two and a half
       years old and was born on November 18 th , 2015. My son and I are from Honduras.

   2. We presented ourselves at the border about May 19, 2018. At first we stayed at the cold facility. We
      stayed there for 8 days. It was very cold like a freezer. My child and I had to sleep on the floor. We all
      had to sleep very close to each other and it was difficult to sleep. I was only able to take one shower
      with my son in the 8 days that we were there. They gave us toothbrushes and toothpaste.

   3. At this place we were only given one sandwich for the morning, one for the middle of the day, and one
      at night. There was not regular water to drink.

   4. It was very cold. It was like a freezer.

   5. The lights were on all of the time. In the middle of the night the lights were kept on.

   6. After 8 days, my son and I were taken to another place where we were held for 9 days in the place they
       call the dog cage.

   7. They had bottles of water and burritos for the morning and middle of the day and a sandwich at night. It
      was very cold and they only gave us small blankets out of aluminum. We again had to sleep on the floor
      on very small mats. We both could not sleep because it was so cold. We had to keep moving our bodies.
      My son became very sick at this place and had a fever and was vomiting. He was vomiting for 4 days. In
      "La Perrera," they gave him medicine to stop the vomiting. After he took the medicine, he stopped
      vomiting.

   8. My son and I were never given any documentation regarding the law or my legal rights. I was able to
      speak to a lawyer once I arrived to the place in Dilley.

   9. My son and I were taken out of that facility on May 26, 2018.

   10. My son and I have been at the current location in Dilley for about 32 days. I was told that I am not able
       to stay, but my son is able to stay. My plan is to wait longer to see if I can stay. I do not know what to
       do.

   11. The lawyers tell me that for my case I can try to wait to see what happens. It is not certain if I will be
       able to stay.




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I, Doris M        swear under penalty of perjury that #:18586
                                                      the above declaration is true and complete to the best of my
abilities. This declaration was provided in Spanish, a language in which I am fluent, and was read back to me in
Spanish.




                                                            Date




                                                  Page 2 ofJ

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                                   Certificate of Translation


I, Amber Rieff, certify that I am fluent in English and Spanish and that I read the above declaration to Doris
M      in Spanish.




Willamette University
245 Winter Street SE
Salem, OR 97302




Date




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                                    Certificate of Translation

 I, Michelle Brané, am fluent in the English and Spanish languages and I certify under penalty of
 perjury of the laws of the United States that I read the above statement back to _Karen
 B                          who verified that it was true and correct.




 _____                      ___________________
 Michelle Brané
 Women’s Refugee Commission
 1012 M Street, Suite 1100
 Washington DC, 20005
 (202) 750 – 8596

 McAllen, Texas




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                                    Certificate of Translation

 I, Michelle Brané, am fluent in the English and Spanish languages and I certify under penalty of
 perjury of the laws of the United States that I read the above statement back to _Dinora
 C               _, who verified that it was true and correct.




 _____                      ___________________
 Michelle Brané
 Women’s Refugee Commission
 1012 M Street, Suite 1100
 Washington DC, 20005
 (202) 750 – 8596

 McAllen, Texas




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                                       CERTIFICATE OF SERVICE
1
              I, Peter Schey, declare and say as follows:
2

3             I am over the age of eighteen years of age and am a party to this action. I am
4
        employed in the County of Los Angeles, State of California. My business address is
5
        256 S. Occidental Blvd., Los Angeles, CA 90057, in said county and state.  
6

7             On July 16, 2018, I electronically filed the following document(s):
8
           • EXHIBITS IN SUPPORT OF PLAINTIFFS’ RESPONSE TO DEFENDANTS’
9              THIRD JUVENILE COORDINATOR REPORTS VOLUME 3 OF 12
10             [REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED
               UNDER SEAL]
11      with the United States District Court, Central District of California by using the
12
        CM/ECF system.
13

14            On July 16, 2018, I also served true and correct copies of the above documents
15
        to the interested parties by sending copies to the email address of Defendants’ Counsel,
16
        Sarah Fabian.
17

18                                                  /s/Peter Schey
                                                    Attorney for Plaintiffs
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